Case 2:16-cv-01554-JCC Document 365

Filed 11/05/24 Pagelof4

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON
OFFICE OF THE CLERK
U.S. COURTHOUSE, LOBBY LEVEL
700 STEWART STREET

SEATTLE, WASHINGTON 98101
(206) 370-8400

RAVI SUBRAMANIAN
District Court Executive
Clerk of Court

ERIC SMITS
Chief Deputy Clerk

INSTRUCTIONS FOR COMPLETION OF
APPLICATION FOR LEAVE TO APPEAR PRO HAC VICE

Pursuant to LCR 83.1(d) — Permission to Participate in a Particular Case

Pro Hac Vice Attorney Requirements

Pro Hac Vice Attorney Applicant must:

1;

Obtain local counsel (see Local Counsel
Requirements).

Fill out all sections of the Application for
Leave to Appear Pro Hac Vice (attached)

except for the Statement of Local Counsel.

Send the Application to local counsel to
complete.

Submit a Pro Hac Vice access request
from attorney pacer.uscourts.gov account
(see Pro Hac Vice Application Guide for
information on when this needs to be
done).

Local Counsel Requirements

Local Counsel must:

1.

2.

Be admitted to practice before this Court.

Have a physical office within the
geographical boundaries of the Western
District of Washington.

Formally appear (LCR 83.2(a)) in the case
in which the attorney files the Application.

Complete and sign the Statement of Local
Counsel section of the Application for
Leave to Appear Pro Hac Vice signifying
the attorney has read and understands
their responsibilities as local counsel.

Electronically file and pay the fee for the
completed application (either Civil or
Criminal), under Other Documents, then
select Application for Leave to Appear
Pro Hac Vice.

The court will review applications and upon approval docket an Order in the case.

Questions regarding Pro Hac Vice applications:

Attorney Admissions Clerk 206-370-8433
WAWD_ Admissions@wawd.uscourts.gov

U.S. District Court - Pro Hac Vice Application
Revised November 8, 2023

Questions regarding Electronic Case Filing (ECF):

ECF Help Desk 1-866-323-9293
cmecf@wawd.uscourts.gov

Page 1
Case 2:16-cv-01554-JCC Document 365 Filed 11/05/24 Page2of4

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United States District Court
Western District of Washington

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Bernadean Rittmann, et al

Case Number:|2: 16-cv-01554- JCC

Plaintiff(s) APPLICATION FOR LEAVE TO APPEAR
PRO HAC VICE
V.

Amazon.com, Inc. , et al

Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,

Michael Puma . oo. .
hereby applies for permission to appear and participate as

counsel in the above entitled action on behalf of the following party or parties:

Defendants Amazon.com, Inc. and Amazon Logistics, Inc.

The particular need for my appearance and participation is:
| am one of the attorneys retained by Defendants Amazon.com, Inc. and Amazon Logistics, Inc.

I, Michael Puma understand that | am charged with knowing and complying with

all applicable local rules;

| have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

| declare under penalty of perjury that the foregoing is true and correct.

se 11/05/2024 Michael Puma

Dat Signature of Applicant: s/

U.S. District Court — Pro Hac Vice Application
Revised November 8, 2023 Page 2 of 4
Case 2:16-cv-01554-JCC Document 365 _ Filed 11/05/24. Page3of4

Pro Hac Vice Attorney

. ' Michael Puma
Applicant's Name:

. Morgan, Lewis & Bockius LLP
Law Firm Name:

2222 Market Street
Street Address 1:

Address Line 2:

. Philadelphia
City: State

Pennsylvania _. 19103
; Zip:

(215) 963-5305 94463 Pennsylvania

Phone Number w/ Area Code Bar # State

michael.puma@morganlewis.com
Primary E-mail Address: purDeneannarg

(Primary email address must be for the Pro Hac attorney and not a subordinate or staff member}

Secondary E-mail Address:
(Additional contact email for questions during the application process)

STATEMENT OF LOCAL COUNSEL

| am authorized and will be prepared to handle this matter, up to and including trial, in the event the

Michael Puma

applicant is unable to be present upon any date

assigned by the court.

11/05/2024

Date s/ Andrew DeCarlow

Signature of Local Counsel:

Andrew DeCarlow
Local Counsel's Name:

Morgan, Lewis & Bockius LLP
Law Firm Name: g

Address must be within the geographical boundaries of the Western District of Washington per LCR
83.1(d)(2).

1301 Second Avenue, Suite 3000
Street Address 1:

Address Line 2:
Seattle

. Washingon . 98101
City State: Zip:
(206) 274-6400 54471

Bar #

Phone Number w/ Area Code

U.S. District Court — Pro Hac Vice Application
Revised November 8, 2023 Page 3 of 4
Case 2:16-cv-01554-JCC Document 365 _ Filed 11/05/24. Page4of4

Electronic Case Filing Agreement

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By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
notices.

2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
5(b)(2)(C), except with regard to service of a complaint and summons or sealed documents. This
provision does include electronic notice of the entry of an order or judgment.

5. You will continue to access case information via the Western District of Washington's website or
through the Public Access to Court Electronic Records (PACER) system. A PACER login and password is
required to electronically file. You can register for PACER access at their website:
www.pacer.uscourts.gov.

6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
changes or additions that may be made to such administrative procedures in the future.

| have completed, or will complete immediately after submitting this form, the creation of a
YW PACER — Case Search Only account and submitted my request for Pro Hac Vice Attorney
Admission access as required per the Pro Hac Vice Application Guide.

11/05/2024 Michael Puma
Date Signed Signature s/

(Pro Hac Vice applicant name}

U.S. District Court — Pro Hac Vice Application
Revised November 8, 2023 Page 4 of 4
